        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 1 of 28




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19                                UNITED STATES DISTRICT COURT
20                             NORTHERN DISTRICT OF CALIFORNIA
21
     SIERA STRUMLAUF, BENJAMIN ROBLES,                 Case No. 16-CV-01306-TEH
22   and BRITTANY CRITTENDEN, individually
     and on behalf of all others similarly situated,   FIRST AMENDED CLASS ACTION
23                                                     COMPLAINT
                                Plaintiffs,
24                                                     JURY TRIAL DEMANDED
            v.
25
     STARBUCKS CORPORATION,
26
                                Defendant.
27

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     FIRST AMENDED CLASS ACTION COMPLAINT
     CASE NO. 16-CV-01306-TEH
         Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 2 of 28




 1           Plaintiffs Siera Strumlauf, Benjamin Robles, and Brittany Crittenden (collectively,
 2   “Plaintiffs”) bring this action on behalf of themselves and all others similarly situated against
 3   Defendant Starbucks Corporation (“Starbucks” or “Defendant”). Plaintiffs make the following
 4   allegations pursuant to the investigation of their counsel and based upon information and belief,
 5   except as to the allegations specifically pertaining to themselves, which are based on personal
 6   knowledge.
 7                                          NATURE OF ACTION
 8           1.      This is a class action lawsuit on behalf of purchasers of Starbucks Caffè Lattes,
 9   Flavored Lattes, Pumpkin Spice Lattes, Egg Nog Lattes, Skinny Lattes, Skinny Flavored Lattes,
10   Vanilla Lattes, Skinny Vanilla Lattes, Chai Tea Lattes, Green Tea Lattes, Earl Grey Tea Lattes,
11   Vanilla Rooibos Tea Lattes, Black Tea Lattes, Caffè Mochas, Skinny Caffè Mochas, White
12   Chocolate Mochas, Peppermint Mochas, and Salted Caramel Mochas (collectively, “Lattes”). At
13   its retail locations, Starbucks represents on its menu that its Lattes contain “12 fl. oz.” for a Tall,
14   “16 fl. oz.” for a Grande, and “20 fl. oz.” for a Venti:1
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26    Technically, the menu represents that Venti beverages are “20/24 fl. oz.” This means that hot
     beverages (like Starbucks Lattes) are purportedly “20 fl. oz.,” while cold beverages are purportedly
27   “24 fl. oz.” For ease of reference, this complaint will only refer to the relevant representation as
     being “20 fl. oz.” in the context of Lattes.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                      1
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 3 of 28




 1   However, Starbucks Lattes are uniformly underfilled pursuant to a standardized recipe. Tall Lattes
 2   are not 12 fluid ounces, Grande Lattes are not 16 fluid ounces, and Venti Lattes are not 20 fluid
 3   ounces. Starbucks cheats purchasers by providing less fluid ounces in their Lattes than
 4   represented. In fact, Starbucks Lattes are approximately 25% underfilled.
 5          2.      Starbucks Lattes are made from a standardized recipe, which Starbucks instituted in
 6   2009 to save on the cost of milk – one of its most expensive ingredients. To create a Latte, the
 7   standardized recipe requires Starbucks baristas to fill a pitcher with steamed milk up to an etched
 8   “fill to” line that corresponds to the size of the customer’s order, pour shots of espresso into a
 9   separate serving cup, pour the steamed milk from the pitcher into the serving cup, and top with ¼”
10   of milk foam, leaving ¼” of free space in the cup. However, Starbucks’ standardized recipes for
11   Lattes result in beverages that are plainly underfilled. Stated otherwise, the etched “fill to” lines in
12   the pitchers are too low, by several ounces.
13          3.      Moreover, the serving cups used by Starbucks for its Lattes are simply too small to
14   accommodate the fluid ounces listed on Starbucks’ menu. For example, the serving cup used for
15   Grande beverages holds exactly 16 fluid ounces, when completely full. However, Starbucks’
16   standardized recipe for its Grande Latte calls to fill the serving cup up to “1/4 inch below cup rim.”
17   Thus, when used in conjunction with its standardized recipes, Starbucks’ serving cups do not
18   permit 12 ounce, 16 ounce, and 20 ounce Lattes.
19          4.      By underfilling its lattes, thereby shortchanging its customers, Starbucks has saved
20   countless millions of dollars in the cost of goods sold and was unjustly enriched by taking payment
21   for more product than it delivers. Plaintiffs assert claims on behalf of themselves and a nationwide
22   class of purchasers of Starbucks Lattes for breach of express warranty, violation of California’s
23   Consumers Legal Remedies Act (“CLRA”), violation of California’s Unfair Competition Law
24   (“UCL”), violation of California’s False Advertising Law (“FAL”), violation of New York’s
25   General Business Law § 349, violation of New York’s General Business Law § 350, violation of
26   Florida’s Deceptive and Unfair Trade Practices Act, and fraud.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                   2
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 4 of 28




 1                                                   PARTIES
 2          5.      Plaintiff Siera Strumlauf is a citizen of California who resides in San Francisco,
 3   California. Prior to the filing of this complaint, Plaintiff Strumlauf visited her local Starbucks in
 4   San Francisco approximately one to two times per week, where she would purchase Grande-sized
 5   (16 fl. oz.) plain and vanilla-flavored Starbucks Lattes, which cost approximately $3.95. Plaintiff
 6   Strumlauf saw the representation on Starbucks’ menu that her Grande-sized Starbucks Lattes
 7   would be “16 fl. oz.” prior to and at the time of purchase, and understood this to be a representation
 8   and warranty that her Lattes would, in fact, contain 16 fluid ounces. Plaintiff Strumlauf relied on
 9   this representation and warranty in deciding to purchase her Starbucks Lattes, and this
10   representation and warranty was part of the basis of the bargain, in that she would not have
11   purchased Grande-sized Starbucks Lattes on the same terms if she had known that they were not, in
12   fact, 16 fluid ounces.
13          6.      Plaintiff Benjamin Robles is a citizen of California and has his permanent residence
14   in Carlsbad, California. In January 2015, Plaintiff Robles visited a Starbucks retail store in
15   Carlsbad, California, where he purchased a Grande-sized (16 fl. oz.) plain Starbucks Latte, which
16   cost approximately $3.95. Plaintiff Robles saw the representation on Starbucks’ menu that his
17   Grande-sized Starbucks Lattes would be “16 fl. oz.” prior to and at the time of purchase, and
18   understood this to be a representation and warranty that his Lattes would, in fact, contain 16 fluid
19   ounces. Plaintiff Robles relied on this representation and warranty in deciding to purchase his
20   Starbucks Lattes, and this representation and warranty was part of the basis of the bargain, in that
21   he would not have purchased Grande-sized Starbucks Lattes on the same terms if he had known
22   that they were not, in fact, 16 fluid ounces.
23          7.      Plaintiff Brittany Crittenden is a citizen of New York. Within the past 3 years,
24   while in New York, New York, and in Miami, Florida, Plaintiff Crittenden purchased Tall, Grande,
25   and Venti-sized Chai Tea Lattes, White Chocolate Mochas, Salted Caramel Mochas, and
26   Peppermint Mochas. For example, on March 30, 2016, Plaintiff Crittenden visited a Starbucks
27   retail store located at 593 Ninth Avenue, New York, New York, where she purchased a Tall-sized
28   (12 fl. oz.) Chai Tea Latte for $3.45. Plaintiff Crittenden saw the representation on Starbucks’

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    3
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 5 of 28




 1   menu that her Tall-sized Starbucks Lattes would be “12 fl. oz.,” her Grande-sized Starbucks Lattes
 2   would be “16 fl. oz.,” and her Venti-sized Starbucks Lattes would be “20 fl. oz.” prior to and at the
 3   time of her purchases, and understood this to be a representation and warranty that her Lattes
 4   would, in fact, contain 12, 16, and 20 fluid ounces, respectively. Plaintiff Crittenden relied on this
 5   representation and warranty in deciding to purchase her Starbucks Lattes, and this representation
 6   and warranty was part of the basis of the bargain, in that she would not have purchased Tall,
 7   Grande, and Venti-sized Starbucks Lattes on the same terms if she had known that they were not,
 8   in fact, 12, 16, and 20 fluid ounces, respectively.
 9          8.      Defendant Starbucks Corporation is a Washington corporation with its principal
10   place of business in Seattle, Washington. Starbucks is a leading American coffee company and
11   coffeehouse chain. Since its founding in 1971, Starbucks now operates 23,450 retail locations
12   worldwide, including 12,937 locations in the United States alone, which serve hot and cold drinks,
13   whole-bean coffee, espressos, teas, fresh juices, pastries, snacks, merchandise, and Starbucks
14   Lattes. In 2015, Starbucks realized approximately $19.2 billion in revenue, and employed 191,000
15   workers.
16          9.      Whenever reference is made in this Complaint to any representation, act, omission,
17   or transaction of Starbucks, that allegation shall mean that Starbucks did the act, omission, or
18   transaction through its officers, directors, employees, agents, and/or representatives while they
19   were acting within the actual or ostensible scope of their authority.
20                                      JURISDICTION AND VENUE
21          10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)
22   because this case is a class action where the aggregate claims of all members of the proposed class
23   are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiffs, together with most
24   members of the proposed class, are citizens of states different from Defendant. This Court also has
25   supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.
26          11.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because
27   a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this
28   District. Plaintiff Strumlauf is a citizen of California, resides in this District, and purchased a

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                     4
     CASE NO. 16-CV-01306-TEH
         Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 6 of 28




 1   Starbucks Latte from Defendant in this District. Additionally, Starbucks distributed, advertised,
 2   and sold its Lattes, which are the subject of the present complaint, in this District.
 3                         FACTS COMMON TO ALL CAUSES OF ACTION
 4   A Brief Background On Lattes
 5             12.   A latte is a coffee drink made with espresso and steamed milk. The term as used in
 6   English is a shortened form of the Italian caffè latte, caffelatte, or caffellatte, which means “milk
 7   coffee.” The word is also sometimes spelled “latté” or “lattè” in English.
 8             13.   Traditionally, a latte is created by mixing steamed milk and espresso, which is then
 9   topped with a thin layer of milk foam.
10             14.   In America, lattes rose to popularity in the 1980s and 1990s, beginning in affluent
11   urban markets such as Seattle and New York City. Specialty coffee products are now a booming
12   industry, which is driven by lattes. For example, a 2013 article from Forbes reports that “about
13   83% of U.S. adults drink coffee in one form or another.” Of these consumers, “about a third of
14   them drink a ‘gourmet’ coffee each day,” of which “lattes and cappuccinos seem to be the kind
15   ordered most frequently.” That said, “[i]t’s neck-and-neck [whether lattes or cappuccinos] gets the
16   top spot, but lattes currently seem to have the slight edge.”2
17             15.   While Starbucks does not release precise sales data on each of its products, there are
18   indications that its lattes constitute a substantial portion of its sales. For example, Starbucks
19   reported that it sold over 200 million pumpkin spice lattes (a limited seasonal offering) from 2003
20   to 2013, generating revenues of at least $100 million per year in recent seasons, according to
21   Forbes.
22   How Starbucks Lattes Are Created, Per The Company’s Standardized Recipe
23             16.   Starbucks Lattes are created according to a standardized recipe. As discussed in the
24   company’s Beverage Resource Manual, Starbucks Lattes are created with 4 simple steps, as shown
25   in the following diagram:
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     2
27    See http://www.forbes.com/sites/robertpassikoff/2013/09/16/u-s-consumers-drinking-a-latte-
     more-coffee/
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    5
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 7 of 28




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           17.    The same Beverage Resource Manual has substantially similar procedures for
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     making mocha-style beverages:
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                      6
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 8 of 28




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19          18.     The same Beverage Resource Manual has substantially similar procedures for
20   making chai tea lattes:
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                        7
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 9 of 28




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19          19.     The Starbucks Lattes are substantially similar products. They are all hot beverages

20   sold with the same representations as to the fluid ounces, and are made pursuant to substantially

21   similar recipes.

22          20.     First, pursuant to the standardized recipe, the barista fills a standardized pitcher with

23   steamed milk up to an etched “fill to” line. Each pitcher has at least 3 lines: one each for Tall,

24   Grande, and Venti beverages. By having these “fill to” lines, the barista has no discretion to

25   individually determine how much milk to use in each Latte, nor is there any room for deviation.

26          21.     Second, pursuant to the standardized recipe, the barista adds shots of espresso to a

27   separate serving cup. One shot is used for Tall Lattes, while two shots are used for Grande and

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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                   8
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 10 of 28




 1   Venti Lattes. Again, the barista has no discretion to individually determine how much espresso to
 2   use. A calibrated machine dispenses each shot.
 3          22.     Third, pursuant to the standardized recipe, the barista adds flavoring syrup, if
 4   requested, according to the diagram above. Yet again, the barista has no discretion to individually
 5   determine how much flavoring syrup to use. Calibrated pumps dispense the syrup in measured
 6   amounts.
 7          23.     Fourth, pursuant to the standardized recipe, the barista pours the steamed milk from
 8   the pitcher into the serving cup with the espresso. The barista then tops the beverage with ¼” of
 9   milk foam, leaving at least ¼” of space below the rim of the serving cup.
10   Starbucks Lattes Are Underfilled
11          24.     When Starbucks Lattes are created pursuant to the company’s standardized recipe,
12   the resulting beverages are underfilled. Several categories of evidence support these allegations.
13          25.     First, Plaintiffs’ counsel purchased and measured Starbucks Lattes at different
14   stores, in different states, in different sizes, and in different flavors. However, each Latte was
15   underfilled by approximately 25%. Additionally, no Starbucks Latte was actually filled to the fluid
16   ounces promised on Starbucks’ menu (e.g., Starbucks represents that a Tall should be “12 fl. oz.,”
17   Grande should be “16 fl. oz.,” and Venti should be “20 fl. oz.”).
18          26.     Second, Plaintiffs’ counsel acquired several copies of the standardized pitcher
19   currently in use by Starbucks baristas to make Lattes. However, the etched “fill to” lines used to
20   measure the steamed milk are plainly set too low. For a Grande beverage, the “fill to” line
21   comprises less than 12 fluid ounces of milk. After adding 2 shots of espresso (2 fluid ounces), the
22   resulting beverage measures less than 14 fluid ounces at most. This falls far short of Starbucks’
23   “16 fl. oz.” representation.
24          27.     Third, the serving cups used by Starbucks simply do not accommodate the promised
25   beverage sizes in fluid ounces, per the standardized recipe for Lattes. For example, when filled to
26   the brink, the serving cup used for Grande beverages holds exactly 16 fluid ounces (the same is true
27   for the Tall cup, which holds exactly 12 fluid ounces, and the Venti cup, which holds exactly 20
28   fluid ounces). However, Starbucks’ recipe for its Grande Latte calls to fill the serving cup up to

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                  9
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 11 of 28




 1   “1/4 inch below cup rim.” Thus, ¼” of empty cup space exists above ¼” of milk foam, which sits
 2   atop the fluid Latte. Accordingly, per the recipe, the Grande serving cup is just too small to hold a
 3   16 fluid ounce latte.
 4            28.   Moreover, Starbucks refuses to fill any hot beverage up to the brim of the cup.
 5   Thus, under no circumstances will Starbucks ever serve a Grande Latte that actually meets the fluid
 6   ounces represented on the menu.
 7            29.   The milk foam added to the top of Starbucks Lattes does not count toward the
 8   volume of its beverages. In the food science community, as well as in the weights and measures
 9   community, foam is not measured on a volumetric basis. Rather, it is measured by mass. When
10   food scientists – and weights and measures inspectors – measure a liquid with foam, the
11   industry-standard procedure is to let the foam dissipate or eliminate the foam, then measure the
12   resulting liquid. Under this analysis, milk foam cannot compensate for an otherwise underfilled
13   Latte.
14   Starbucks Made A Conscious Decision To Underfill Its Lattes To Save Money On Milk
15            30.   Starbucks faced financial difficulty at the end of 2007. Its stock was down 42%,
16   and many of its stores were failing. In January 2008, Howard Schultz, Chairman of the board,
17   resumed his position as CEO (which he had left in 2000), and lead an effort to return the company
18   to profitability. As part of these efforts, Mr. Schultz made over $500 million of permanent cuts in
19   costs by laying off 4,000 employees, closing 800 retail locations in the United States, and reducing
20   the cost of goods sold.
21            31.   A key component to this cost-cutting effort was to reduce the amount of milk used
22   by baristas and in Starbucks beverages. As reported by Bloomberg in 2009, Starbucks
23   accomplished this objective by putting standardized, etched lines in its steaming pitchers. These
24   etched lines on the pitchers were made specifically for Starbucks, and are used by all Starbucks
25   retail locations. In doing so, barista discretion was eliminated, and the amount of milk in each latte
26   was standardized:
27                  [T]he baristas were [previously] pouring millions of dollars of
                    leftover milk down the drain. As store managers for the first time
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                10
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 12 of 28




 1                  began thinking about how to operate more efficiently, an idea
                    emerged. It was simple, obvious, and made everyone wonder why
 2                  no one had thought of it before: They could put etched lines in the
 3                  steaming pitchers so that the baristas would know exactly how much
                    milk to use for each size drink. Before, they just guessed. “The
 4                  celebration of that line in the halls of Starbucks has become a
                    metaphor,” says Schultz. “How many other lines can we find?
 5                  We’ve found a lot because no one was ever looking. The people
                    who have found those lines have become part of the folklore.”
 6
     See http://www.bloomberg.com/news/articles/2009-08-06/starbucks-howard-schultz-vs-dot-
 7
     howard-schultz (emphasis added).
 8
            32.     Simply put, milk is an expensive ingredient. As reported by ABC News in a piece
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     entitled “Record Milk Price Squeezing Starbucks,” “CEO Howard Schultz told reporters earlier
10
     this week, following the company’s annual meeting in Seattle: ‘I am concerned about dairy
11
     [prices], both domestically and around the world, and we are working feverishly with our
12
     suppliers.’”
13
            33.     Accordingly, by etching “fill to” lines on its steaming pitchers and removing
14
     employee discretion, Starbucks was able to reduce its daily costs, and the company eventually
15
     made a soaring comeback. Its stock went from a low of 3.92 on November 21, 2008 to 62.61 on
16
     October 23, 2015.
17
            34.     In the process, however, Starbucks cut too much milk. Stated otherwise, when a
18
     standard recipe is used to create a drink that is purportedly 16 fluid ounces, the resulting beverage
19
     should in fact be 16 fluid ounces. In connection with these cost-saving measures, Starbucks knew
20
     that the etched “fill to” lines in its steaming pitchers resulted in underfilled beverages. Yet
21
     Starbucks continued to advertise its Tall beverages as “12 fl. oz.,” its Grande beverages as “16 fl.
22
     oz.,” and its Venti beverages as “20 fl. oz.”
23
                              CLASS REPRESENTATION ALLEGATIONS
24
            35.     Plaintiffs seek to represent a class defined as all persons in the United States who
25
     purchased a Starbucks Latte (the “Class”). Excluded from the Class are persons who made such
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     purchase for purpose of resale.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                   11
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 13 of 28




 1          36.     Plaintiffs Strumlauf and Robles also seek to represent a subclass of all Class
 2   members who purchased a Starbucks Latte in California (the “California Subclass”).
 3          37.     Plaintiff Crittenden also seeks to represent a subclass of all Class members who
 4   purchased a Starbucks Latte in New York (the “New York Subclass”).
 5          38.     Plaintiff Crittenden also seeks to represent a subclass of all Class members who
 6   purchased a Starbucks Latte in Florida (the “Florida Subclass”).
 7          39.     Members of the Class and Subclasses are so numerous that their individual joinder
 8   herein is impracticable. On information and belief, members of the Class and Subclasses number
 9   in the millions. The precise number of Class members and their identities are unknown to
10   Plaintiffs at this time but may be determined through discovery. Class members may be notified of
11   the pendency of this action by mail and/or publication through the distribution records of
12   Defendant and third party retailers and vendors.
13          40.     Common questions of law and fact exist as to all Class members and predominate
14   over questions affecting only individual Class members. Common legal and factual questions
15   include, but are not limited to: whether Starbucks Lattes are underfilled; whether Defendant
16   warranted that Starbucks Lattes contained a specific “fl. oz.” measurement for each size; whether
17   Defendant breached these warranties; and whether Defendant committed statutory and common
18   law fraud by doing so.
19          41.     The claims of the named Plaintiffs are typical of the claims of the Class in that the
20   named Plaintiffs purchased Starbucks Lattes in reliance on the representations and warranties
21   described above and suffered a loss as a result of that purchase.
22          42.     Plaintiffs are adequate representatives of the Class and Subclasses because their
23   interests do not conflict with the interests of the Class members they seek to represent, they have
24   retained competent counsel experienced in prosecuting class actions, and they intend to prosecute
25   this action vigorously. The interests of Class members will be fairly and adequately protected by
26   Plaintiffs and their counsel.
27          43.     The class mechanism is superior to other available means for the fair and efficient
28   adjudication of the claims of the Class and members of the Subclasses. Each individual Class

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                   12
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 14 of 28




 1   member may lack the resources to undergo the burden and expense of individual prosecution of the
 2   complex and extensive litigation necessary to establish Defendant’s liability. Individualized
 3   litigation increases the delay and expense to all parties and multiplies the burden on the judicial
 4   system presented by the complex legal and factual issues of this case. Individualized litigation also
 5   presents a potential for inconsistent or contradictory judgments. In contrast, the class action device
 6   presents far fewer management difficulties and provides the benefits of single adjudication,
 7   economy of scale, and comprehensive supervision by a single court on the issue of Defendant’s
 8   liability. Class treatment of the liability issues will ensure that all claims and claimants are before
 9   this Court for consistent adjudication of the liability issues.
10                                                  COUNT I
11                                       Breach Of Express Warranty
12          44.     Plaintiffs hereby incorporate by reference the allegations contained in all preceding
13   paragraphs of this complaint.
14          45.     Plaintiffs bring this claim individually and on behalf of the proposed Class and
15   Subclasses against Defendant.
16          46.     Defendant, as the designer, manufacturer, marketer, distributor, and/or seller,
17   expressly warranted that Starbucks Lattes contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a
18   Grande, and “20 fl. oz.” for a Venti.
19          47.     In fact, Starbucks Lattes are not fit for such purposes because each of these express
20   warranties are false. Starbucks Lattes are underfilled. A Tall does not contain 12 fluid ounces, a
21   Grande does not contain 16 fluid ounces, and a Venti does not contain 20 fluid ounces.
22          48.     As a direct and proximate cause of Defendant’s breach of express warranty,
23   Plaintiffs and Class members have been injured and harmed because: (a) they would not have
24   purchased Starbucks Lattes on the same terms if the true facts were known concerning the Lattes’
25   quantity; (b) they paid a price premium for Starbucks Lattes due to Defendant’s promises that its
26   Lattes contained “12 fl. oz.,” “16 fl. oz.,” and “20 fl. oz.,” respectively; and (c) Starbucks Lattes
27   did not have the characteristics, ingredients, uses, benefits, or quantities as promised.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    13
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 15 of 28




 1                                                 COUNT II
 2                       Violation Of California’s Consumers Legal Remedies Act,
 3                                   California Civil Code §§ 1750, et seq.
 4          49.     Plaintiffs Strumlauf and Robles hereby incorporate by reference the allegations
 5   contained in all preceding paragraphs of this complaint.
 6          50.     Plaintiffs Strumlauf and Robles bring this claim individually and on behalf of the
 7   proposed California Subclass against Defendant.
 8          51.     California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1770(a)(5), prohibits
 9   “[r]epresenting that goods or services have sponsorship, approval, characteristics, ingredients, uses,
10   benefits, or quantities which they do not have or that a person has a sponsorship, approval, status,
11   affiliation, or connection which he or she does not have.”
12          52.     California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1770(a)(9), prohibits
13   “[a]dvertising goods or services with intent not to sell them as advertised.”
14          53.     Defendant violated this provision by misrepresenting that Starbucks Lattes
15   contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a Grande, and “20 fl. oz.” for a Venti.
16          54.     Plaintiffs and the California Subclass suffered injuries caused by Defendant
17   because: (a) they would not have purchased Starbucks Lattes on the same terms if the true facts
18   were known concerning the Lattes’ quantity; (b) they paid a price premium for Starbucks Lattes
19   due to Defendant’s promises that its Lattes contained “12 fl. oz.,” “16 fl. oz.,” and “20 fl. oz.,”
20   respectively; and (c) Starbucks Lattes did not have the characteristics, ingredients, uses, benefits, or
21   quantities as promised.
22          55.     On or about January 29, 2016, prior to filing this action, a CLRA notice letter was
23   served on Defendant which complies in all respects with California Civil Code § 1782(a). Plaintiff
24   Robles sent Starbucks a letter via certified mail, return receipt requested, advising Starbucks that it
25   is in violation of the CLRA and demanding that it cease and desist from such violations and make
26   full restitution by refunding the monies received therefrom. A true and correct copy of Plaintiff
27   Robles’ letter is attached hereto as Exhibit A.
28

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                  14
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 16 of 28




 1          56.     Wherefore, Plaintiffs Strumlauf and Robles seek damages and restitution for this
 2   violation of the CLRA.
 3                                                COUNT III
 4                          Violation Of California’s Unfair Competition Law,
 5                       California Business & Professions Code §§ 17200, et seq.
 6          57.     Plaintiffs Strumlauf and Robles hereby incorporate by reference the allegations
 7   contained in all preceding paragraphs of this complaint.
 8          58.     Plaintiffs Strumlauf and Robles bring this claim individually and on behalf of the
 9   proposed California Subclass against Defendant.
10          59.     Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof.
11   Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and
12   include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or
13   misleading advertising ….”
14          60.     Defendant’s misrepresentations and other conduct, described herein, violated the
15   “unlawful” prong of the UCL by violating the CLRA as described herein; the FAL as described
16   herein; and Cal. Com. Code § 2607.
17          61.     Defendant’s misrepresentations and other conduct, described herein, violated the
18   “unfair” prong of the UCL in that its conduct is substantially injurious to consumers, offends public
19   policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the conduct
20   outweighs any alleged benefits.
21          62.     Defendant violated the “fraudulent” prong of the UCL by making
22   misrepresentations about Starbucks Lattes, as described herein.
23          63.     Plaintiffs Strumlauf and Robles and the California Subclass lost money or property
24   as a result of Defendant’s UCL violations because: (a) they would not have purchased Starbucks
25   Lattes on the same terms if the true facts were known concerning the Lattes’ quantity; (b) they paid
26   a price premium for Starbucks Lattes due to Defendant’s promises that its Lattes contained “12 fl.
27   oz.,” “16 fl. oz.,” and “20 fl. oz.,” respectively; and (c) Starbucks Lattes did not have the
28   characteristics, ingredients, uses, benefits, or quantities as promised.

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                15
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 17 of 28




 1                                                COUNT IV
 2                            Violation Of California’s False Advertising Law,
 3                       California Business & Professions Code §§ 17500, et seq.
 4          64.     Plaintiffs Strumlauf and Robles hereby incorporate by reference the allegations
 5   contained in all preceding paragraphs of this complaint.
 6          65.     Plaintiffs Strumlauf and Robles bring this claim individually and on behalf of the
 7   proposed California Subclass against Defendant.
 8          66.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,
 9   makes it “unlawful for any person to make or disseminate or cause to be made or disseminated
10   before the public in this state, ... in any advertising device ... or in any other manner or means
11   whatever, including over the Internet, any statement, concerning ... personal property or services,
12   professional or otherwise, or performance or disposition thereof, which is untrue or misleading and
13   which is known, or which by the exercise of reasonable care should be known, to be untrue or
14   misleading.”
15          67.     Defendant committed acts of false advertising, as defined by § 17500, by
16   misrepresenting that Starbucks Lattes contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a Grande,
17   and “20 fl. oz.” for a Venti.
18          68.     Defendant knew or should have known, through the exercise of reasonable care that
19   its representations about Starbucks Lattes were untrue and misleading.
20          69.     Defendant’s actions in violation of § 17500 were false and misleading such that the
21   general public is and was likely to be deceived.
22          70.     Plaintiffs Strumlauf and Robles and the California Subclass lost money or property
23   as a result of Defendant’s FAL violations because: (a) they would not have purchased Starbucks
24   Lattes on the same terms if the true facts were known concerning the Lattes’ quantity; (b) they paid
25   a price premium for Starbucks Lattes due to Defendant’s promises that its Lattes contained “12 fl.
26   oz.,” “16 fl. oz.,” and “20 fl. oz.,” respectively; and (c) Starbucks Lattes did not have the
27   characteristics, ingredients, uses, benefits, or quantities as promised.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                  16
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 18 of 28




 1                                                 COUNT V
 2                          Violation Of New York General Business Law § 349
 3            71.   Plaintiff Crittenden hereby incorporates by reference the allegations contained in all
 4   preceding paragraphs of this complaint.
 5            72.   Plaintiff Crittenden brings this claim individually and on behalf of the proposed
 6   New York Class against Defendant.
 7            73.   New York General Business Law § 349 prohibits deceptive acts or practices in the
 8   conduct of any business, trade, or commerce.
 9            74.   In its sale of goods throughout the State of New York, Defendant conducts business
10   and trade within the meaning and intendment of New York General Business Law § 349.
11            75.   Plaintiff Crittenden and members of the New York Subclass are consumers who
12   purchased products from Defendant for their personal use.
13            76.   By the acts and conduct alleged herein, Defendant has engaged in deceptive, unfair,
14   and misleading acts and practices, which include, without limitation, misrepresenting that
15   Starbucks Lattes contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a Grande, and “20 fl. oz.” for a
16   Venti.
17            77.   The foregoing deceptive acts and practices were directed at consumers.
18            78.   The foregoing deceptive acts and practices are misleading in a material way because
19   they fundamentally misrepresent the characteristics and quantity of Starbucks Lattes to induce
20   consumers to purchase same.
21            79.   By reason of this conduct, Defendant has engaged and continues to engage in
22   deceptive conduct in violation of the New York General Business Law.
23            80.   Defendant’s actions are the direct, foreseeable, and proximate cause of the damages
24   that Plaintiff Crittenden and members of the New York Subclass have sustained from having paid
25   for and consumed Defendant’s products.
26            81.   As a result of Defendant’s violations, Plaintiff Crittenden and members of the New
27   York Subclass have suffered damages because: (a) they would not have purchased Starbucks Lattes
28   on the same terms if the true facts were known concerning the Lattes’ quantity; (b) they paid a

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    17
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 19 of 28




 1   price premium for Starbucks Lattes due to Defendant’s promises that its Lattes contained “12 fl.
 2   oz.,” “16 fl. oz.,” and “20 fl. oz.,” respectively; and (c) Starbucks Lattes did not have the
 3   characteristics, ingredients, uses, benefits, or quantities as promised.
 4          82.     On behalf of herself and other members of the New York Subclass, Plaintiff
 5   Crittenden seeks to recover her actual damages or fifty dollars, whichever is greater, three times
 6   actual damages, and reasonable attorneys’ fees.
 7                                                COUNT VI
 8                          Violation Of New York General Business Law § 350
 9          83.     Plaintiff Crittenden hereby incorporates by reference the allegations contained in all
10   preceding paragraphs of this complaint.
11          84.     Plaintiff Crittenden brings this claim individually and on behalf of the proposed
12   New York Class against Defendant.
13          85.     New York General Business Law § 350 prohibits false advertising in the conduct of
14   any business, trade, or commerce.
15          86.     Pursuant to said statute, false advertising is defined as “advertising, including
16   labeling, of a commodity … if such advertising is misleading in a material respect.”
17          87.     Based on the foregoing, Defendant has engaged in consumer-oriented conduct that
18   is deceptive or misleading in a material way which constitutes false advertising in violation of
19   Section 350 of the New York General Business Law.
20          88.     Defendant’s false, misleading, and deceptive statements and representations of fact
21   were and are directed to consumers.
22          89.     Defendant’s false, misleading, and deceptive statements and representations of fact
23   were and are likely to mislead a reasonable consumer acting reasonably under the circumstances.
24          90.     Defendant’s false, misleading, and deceptive statements and representations of fact
25   have resulted in consumer injury or harm to the public interest.
26          91.     As a result of Defendant’s false, misleading, and deceptive statements and
27   representations of fact, Plaintiff Crittenden and the New York Subclass have suffered and continue
28   to suffer economic injury.

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                 18
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 20 of 28




 1          92.       As a result of Defendant’s violations, Plaintiff Crittenden and members of the New
 2   York Subclass have suffered damages due to said violation because: (a) they would not have
 3   purchased Starbucks Lattes on the same terms if the true facts were known concerning the Lattes’
 4   quantity; (b) they paid a price premium for Starbucks Lattes due to Defendant’s promises that its
 5   Lattes contained “12 fl. oz.,” “16 fl. oz.,” and “20 fl. oz.,” respectively; and (c) Starbucks Lattes
 6   did not have the characteristics, ingredients, uses, benefits, or quantities as promised.
 7          93.       On behalf of herself and other members of the New York Subclass, Plaintiff
 8   Crittenden seeks to recover her actual damages or five hundred dollars, whichever is greater, three
 9   times actual damages, and reasonable attorneys’ fees.
10                                                COUNT VII
11                    Violation Of Florida’s Deceptive And Unfair Trade Practices Act
12          94.       Plaintiff Crittenden hereby incorporates by reference the allegations contained in all
13   preceding paragraphs of this complaint.
14          95.       Plaintiff Crittenden brings this claim individually and on behalf of the proposed
15   Florida Subclass against Defendant.
16          96.       This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade
17   Practices Act, Fla. Stat. §§ 501.201, et seq. (the “Act”). The express purpose of the Act is to
18   “protect the consuming public … from those who engage in unfair methods of competition, or
19   unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”
20   Fla. Stat. §§ 501.202(2).
21          97.       Plaintiff Crittenden and members of the Florida Subclass are “consumers” within
22   the meaning of Fla. Stat. §§ 501.203(7).
23          98.       Defendant was engaged in “trade or commerce” as defined by Fla. Stat.
24   §§ 501.203(8).
25          99.       The sale of Starbucks Lattes constituted “consumer transactions” within the scope
26   of Fla. Stat. §§ 501.201 to 501.213.
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    19
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 21 of 28




 1          100.    Fla. Stat. §§ 501.204(1) declares unlawful “unfair methods of competition,
 2   unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any
 3   trade or commerce.”
 4          101.    Defendant has violated the Act by engaging in the unfair and deceptive practices as
 5   described herein which offend public policies and are immoral, unethical, unscrupulous, and
 6   substantially injurious to consumers. Specifically, Defendant misrepresented that Starbucks Lattes
 7   contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a Grande, and “20 fl. oz.” for a Venti.
 8          102.    Defendant’s unfair and deceptive practices are likely to mislead – and have misled –
 9   Plaintiff Crittenden and Florida Subclass members acting reasonably under the circumstances, and
10   violates Fla. Stat. §§ 501.204.
11          103.    Defendant’s misrepresentations and material omissions impact the public interest
12   because Plaintiff Crittenden and the Florida Subclass were injured in exactly the same way as
13   thousands of others purchasing Starbucks Lattes as a result of Defendants’ generalized course of
14   deception.
15          104.    Plaintiff Crittenden and the Florida Subclass have suffered damages because: (a)
16   they would not have purchased Starbucks Lattes on the same terms if the true facts were known
17   concerning the Lattes’ quantity; (b) they paid a price premium for Starbucks Lattes due to
18   Defendant’s promises that its Lattes contained “12 fl. oz.,” “16 fl. oz.,” and “20 fl. oz.,”
19   respectively; and (c) Starbucks Lattes did not have the characteristics, ingredients, uses, benefits, or
20   quantities as promised.
21          105.    The damages suffered by Plaintiff Crittenden and the Florida Subclass were directly
22   and proximately caused by the deceptive, misleading, and unfair practices of Defendant, as more
23   fully described herein.
24          106.    Pursuant to Fla. Stat. §§ 501.211(2) and 501.2105, Plaintiff Crittenden and the
25   Florida Subclass seek to recover their actual damages, reasonable attorneys’ fees, and costs.
26
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     FIRST AMENDED CLASS ACTION COMPLAINT                                                                 20
     CASE NO. 16-CV-01306-TEH
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 22 of 28




 1                                                COUNT VIII
 2                                                    Fraud
 3           107.    Plaintiffs hereby incorporate by reference the allegations contained in all preceding
 4   paragraphs of this complaint.
 5           108.    Plaintiffs bring this claim individually and on behalf of the proposed Class and
 6   Subclasses against Defendant.
 7           109.    As discussed above, Defendant provided Plaintiffs and Class members with false or
 8   misleading material information and failed to disclose material facts about Starbucks Lattes,
 9   including but not limited to the fact that they contained “12 fl. oz.” for a Tall, “16 fl. oz.” for a
10   Grande, and “20 fl. oz.” for a Venti.
11           110.    The misrepresentations and omissions made by Defendant, upon which Plaintiffs
12   and Class members reasonably and justifiably relied, were intended to induce and actually induced
13   Plaintiffs and Class members to purchase Starbucks Lattes.
14           111.    The fraudulent actions of Defendant caused damage to Plaintiffs and Class
15   members, who are entitled to damages and other legal and equitable relief as a result.
16                                            PRAYER FOR RELIEF
17           WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek
18   judgment against Defendant, as follows:
19           a.      For an order certifying the nationwide Class and the Subclasses under Rule 23 of the
20                   Federal Rules of Civil Procedure and naming Plaintiffs as the representatives of the
21                   Class and Subclasses and Plaintiffs’ attorneys as Class Counsel to represent
22                   members of the Class and Subclasses;
23           b.      For an order declaring the Defendant’s conduct violates the statutes referenced
24                   herein;
25           c.      For an order finding in favor of Plaintiffs, the nationwide Class, and the Subclasses
26                   on all counts asserted herein;
27           d.      For compensatory, statutory, and punitive damages in amounts to be determined by
28                   the Court and/or jury;

     FIRST AMENDED CLASS ACTION COMPLAINT                                                                    21
     CASE NO. 16-CV-01306-TEH
       Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 23 of 28




 1         e.      For prejudgment interest on all amounts awarded;
 2         f.      For an order of restitution and all other forms of equitable monetary relief; and
 3         g.      For an order awarding Plaintiffs, the Class, and the Subclasses their reasonable
 4                 attorneys’ fees and expenses and costs of suit.
 5                                  DEMAND FOR TRIAL BY JURY
 6         Plaintiffs demand a trial by jury of all issues so triable.
 7

 8   Dated: September 16, 2016                     Respectfully submitted,
 9                                                 BURSOR & FISHER, P.A.
10
                                                   By:      /s/ L. Timothy Fisher
11                                                              L. Timothy Fisher

12                                                 L. Timothy Fisher (State Bar No. 191626)
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                                                   IMBESI LAW P.C.
28                                                 Brittany Weiner (pro hac vice motion forthcoming)

     FIRST AMENDED CLASS ACTION COMPLAINT                                                              22
     CASE NO. 16-CV-01306-TEH
      Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 24 of 28




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 4                                          Attorneys for Plaintiffs
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     FIRST AMENDED CLASS ACTION COMPLAINT                                    23
     CASE NO. 16-CV-01306-TEH
Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 25 of 28
Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 26 of 28




                                                    EXHIBIT A
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 27 of 28




1990 NORTH CALIFORNIA BLVD.                                                 L. TIMOTHY FISHER
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www.bursor.com                                                              ltfisher@bur sor.com

                                         January 29, 2016


Via Certified Mail – Return Receipt Requested

Starbucks Corporation
Attn: Legal Department
2401 Utah Avenue South
Seattle, WA 98134

Re:     Demand Letter Pursuant to California Civil Code § 1782 and
        Violation of U.C.C. §§ 2-313, 2-314

To Whom It May Concern:

         This letter serves as a preliminary notice and demand for corrective action by Starbucks
Corporation (“Starbucks”) pursuant to California’s Consumers Legal Remedies Act, California
Civil Code § 1782, on behalf of our client, Benjamin Robles, and a class of all similarly situated
purchasers (the “Class”) of Starbucks Caffè Latte, Flavored Latte, Skinny Latte, Skinny Flavored
Latte, Vanilla Latte, and Skinny Vanilla Latte beverages (collectively, “Starbucks Lattes”). This
letter also serves as notice pursuant to U.C.C. § 2-607(3)(A) concerning the breaches of express
and implied warranties described herein.

         Starbucks Lattes are sold to consumers in the following sizes: Short (8 fl. oz.), Tall (12
fl. oz.), Grande (16 fl. oz.), and Venti (20 fl. oz.). However, instead of receiving a latte with
these represented fluid ounces, Starbucks systematically underfills its lattes. In short, Starbucks
is cheating purchasers by providing less fluid ounces in their lattes than they are paying for. See
U.C.C. §§ 2-313, 2-314.

        By systematically underfilling Starbucks Lattes, Starbucks has violated and continues to
violate numerous provisions of California law, including but not limited to subsections (a)(5) and
(a)(9) of the Consumers Legal Remedies Act, Civil Code § 1770, which prohibits representing
that goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
quantities which they do not have, and advertising goods or services with intent not to sell them
as advertised.

       In 2015, Mr. Robles purchased Starbucks Grande Caffè Lattes in San Diego and
Carlsbad, California. On behalf of our client and the putative class, we hereby demand that
Starbucks immediately (a) cease and desist from continuing to underfill Starbucks Lattes, and
(b) make full restitution to all purchasers of its mislabeled lattes of all purchase money obtained
from the sales thereof.
        Case 4:16-cv-01306-YGR Document 52 Filed 09/21/16 Page 28 of 28
                                                                                            PAGE 2


        It is further demanded that Starbucks preserve all documents and other evidence which
refer or relate to any of the above-described practices including, but not limited to, the following:

        1.      All documents concerning recipes for Starbucks Lattes;

        2.      All documents concerning the advertisement, marketing, or sale of
                Starbucks Lattes; and

        3.      All communications with customers concerning complaints or comments
                concerning the practices described herein related to Starbucks Lattes.

       This letter also serves as a thirty (30) day notice and demand requirement under California
Civil Code § 1782 for damages. Accordingly, should Starbucks fail to rectify the situation on a
class-wide basis within 30 days of receipt of this letter, we will seek actual damages, plus punitive
damages, interest, attorneys’ fees and costs.

        Please contact me right away if you wish to discuss an appropriate way to remedy this
matter. If I do not hear from you promptly, I will take that as an indication that you are not
interested in doing so.

                                                        Very truly yours,




                                                        L. Timothy Fisher


                                                     Gerald R. Healy
                                                     Gerald R. Healy (Jan 29, 2016)



                                                        Mr. Gerald R. Healy
                                                        Owner/Managing Partner
                                                        Military Justice Attorneys, PLLC
                                                        gerry@militaryjusticeattorneys.com
